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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 7
MAD CATZ, INC.,’ Case No. 17-10679 (KG)

Debtor.

 

STATEMENT OF FINANCIAL AFFAIRS

YOUNG CONAWAY STARGATT & TAYLOR, LLP
Rodney Square

1000 N. King Street

Wilmington, Delaware 19801

Telephone: (302) 571-6600

Facsimile: (302) 571-1253

Counsel for the Debtor

 

' The last four digits of the Debtor’s federal tax identification number are (0365). The Debtor’s address is 10680
Treena Street, Suite No. 500, San Diego, California 92131.

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These Global Notes regarding the Debtor’s Schedules of Assets and Liabilities (the “Schedules”) and
Statement of Financial Affairs (the “SOFA”) comprise an integral part of the Schedules and SOFA
and should be referred to and considered in connection with any review of them.

1.

The debtor in the above-captioned case (the “Debtor”) prepared these unaudited Schedules and
SOFA pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”) and
Rule 1007 of the Federal Rules of Bankruptcy Procedure. Except where otherwise noted the
information provided herein is presented as of the beginning of business on March 30, 2017 (the
“Petition Date”).

While the Debtor has made every reasonable effort to ensure that the Schedules and SOFA are
accurate and complete, based upon information that was available to it at the time of preparation,
inadvertent errors or omissions may exist and the subsequent receipt of information and/or further
review and analysis of the Debtor’s books and records may result in changes to financial data and
other information contained in the Schedules and SOFA. Moreover, because the Schedules and
SOFA contain unaudited information, which is subject to further review and potential adjustment,
there can be no assurance that the Schedules and SOFA are complete or accurate.

In reviewing and signing the Schedules and SOFA, David McKeon, the duly authorized and
designated representative of the Debtor (the “Designated Representative”), has necessarily relied
upon the prior efforts, statements and representations of other personnel and professionals of the
Debtor. The Designated Representative has not (and could not have) personally verified the
accuracy of each such statement and representation that collectively provide the information
presented in the Schedules and SOFA, including but not limited to, statements and representations
concerning amounts owed to creditors and their addresses.

 

The Debtor reserves its rights to amend its Schedules and SOFA as may be necessary or
appropriate in the Debtor’s sole and absolute discretion, including, but not limited to, the right to
assert offsets or defenses to (which rights are expressly preserved), or to dispute, any claim
reflected on the Schedules as to amount, liability or classification, or to otherwise subsequently
designate any claim as “disputed,” “contingent” or “unliquidated.” These Global Notes will apply
to all such amendments. Furthermore, nothing contained in the Schedules shall constitute a waiver
of the Debtor’s rights with respect to this chapter 7 case and specifically with respect to any issues
involving substantive consolidation, equitable subordination and/or causes of action arising under
the provisions of chapter 5 of the Bankruptcy Code and other relevant non-bankruptcy laws to
recover assets or avoid transfers, or an admission relating to the same.

Any failure to designate a claim listed on the Debtor’s Schedules as “disputed,” “contingent” or
“unliquidated” does not constitute an admission by the Debtor that such amount is not “disputed,”
“contingent” or “unliquidated.” Additionally, the dollar amounts of claims listed may be exclusive
of contingent and additional unliquidated amounts. Further, the claims of individual creditors are
listed as the amounts entered on the Debtor’s books and records and may not reflect credits or
allowances due from such creditors to the Debtor or setoffs applied by such creditors against
amounts due by such creditors to the Debtor with respect to other transactions between them. The
Debtor reserves all of its rights with respect to any such credits and allowances.

Some of the Debtor’s scheduled assets and liabilities are unknown and/or unliquidated. In such
cases, no amounts are listed or the amounts are listed as “undetermined,” “unknown,” “none
calculated” or to similar effect. Accordingly, for this and other reasons the Schedules may not fully
reflect the aggregate amount of the Debtor’s assets and liabilities.

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At times, the preparation of the Schedules and the SOFA required the Debtor to make assumptions
that may affect the reported amounts of assets and liabilities, the disclosures of contingent assets
and liabilities, and/or other items. Actual results could differ from those estimates. Pursuant to Fed.
R. Bankr. P. 1009, the Debtor may amend its Schedules as it deems necessary and appropriate to
reflect material changes. In addition, the Debtor, for the benefit of its estate, reserves the right to
dispute or to assert offsets or defenses to any claim listed on the Schedules.

Given the differences between the information requested in the Schedules and the financial
information utilized under generally accepted accounting principles in the United States (“GAAP”),
the aggregate asset values and claim amounts set forth in the Schedules may not necessarily reflect
the amounts that would be set forth in a balance sheet prepared in accordance with GAAP.

With respect to Schedule A/B, questions 6-8, the retainer amounts paid by the Debtor to its
bankruptcy counsel, Young Conway Stargatt & Taylor, LLP, on an earned upon receipt basis do
not constitute an interest of the Debtor in property and are thus not listed in response to Schedule B,
questions 6-8. These payments are listed in response to SOFA question 11.

With respect to Schedule A/B, question 7.1, the prepayments listed in response to this question
marked “ATM Equity Offering,” “McMillan LLP,” and “KPMG” are expenses that were incurred
for work actually performed to prepare an “at the market” secondary offering of Mad Catz
Interactive, Inc. stock. No shares were actually issued under the offering, however, so these
expenses were not recognized under U.S. GAAP, but remained a prepaid asset on the Debtor’s
books until such time as shares would be issued under the offering. The Debtor believes the
amounts listed do not represent amounts that can be returned to the Debtor. Upon the issuance of
shares by Mad Catz Interactive, Inc., the Debtor would be repaid these amounts incurred via cross-
charge.

With respect to Schedule A/B, question 8.1, the Debtor made payment on the respective insurance
policies listed even though it was not the primary insured under certain of the policies. In the
ordinary course of its business, it would cross-charge its affiliates for these and other overhead
charges, as well as other items, using arm’s length transfer pricing.

With respect to Schedule A/B questions 10-12, the Debtor’s listed accounts receivable are
presented as of the opening of business on March 30, 2017 without deducting for customer
allowances, such as those provided to certain customers as incentives to purchase additional
product or those provided in lieu of the Debtor accepting returns. Additionally, the Debtor’s
accounts receivable also include receivables from a customer, U&I Entertainment LLC, that have
not been recognized to revenue for U.S. GAAP reporting purposes due to extended payment terms
offered in the agreement with U&I Entertainment LLC, which provide that this customer is
obligated to pay for all product purchased but delay the obligation to pay until it is resold by the
customer to a third party. At the Debtor’s most recent month-end close, the deduction from such
allowances represented a reduction of approximately 62% from gross accounts receivable, with
such percentage exclusive of $3.4 million of receivables U&I Entertainment LLC that were
excluded because of these payment terms.

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With respect to Schedule A/B, questions 38-41, the Debtor has not verified the physical existence
of all assets listed in response thereto; it is possible at least some assets may have been discarded,
disposed of, or otherwise transferred or abandoned prior to the Petition Date.

With respect to Schedule A/B, question 55, the Debtor has historically carried a book value for
leasehold improvements on its books and records, but does not carry a book value for leaseholds on
its books and records. Additionally, with respect to the Debtor’s Redlands lease, the Debtor wrote
down the value of its leasehold improvements to zero when it vacated the premises in January
2017.

With respect to Schedule A/B, question 63, the Debtor acquired a customer list from TRITTON
Technologies, a gaming audio headset firm, in 2010 as part of a broader acquisition of such entity’s
assets. The value of this list is being depreciated over the course of 96 months (8 years).
Operationally, the customer list has been merged into the balance of the Debtor’s customer list.
Given its generally organic development, the Debtor has not ascribed a book value to the balance of

the customer list. As such, the value shown is only that remaining value of the list acquired from
TRITTON Technologies.

With respect to Schedule A/B, question 72, while the Debtor believes it possesses unused net
operating losses, the amount of these unused net operating losses may depend on a variety of
factors and the Debtor makes no warranty or representation that the amounts set forth in response to
question 72 may be realized. These amounts derive from the Debtor’s outside tax advisors, Scurio
Consulting, Inc.

With respect to Schedule A/B, question 73, the Debtor was provided coverage under various
insurance policies as of the Petition Date, but did not ascribe a book value to any of its insurance
policies, only one of which was in the name of the Debtor.

With respect to Schedule A/B, questions 74 and 75, the Debtor has not listed any causes of action
against third parties, although it is possible some such causes of action may exist. Among other
things, the Debtor has not analyzed and listed any potential actions arising under chapter 5 of the
Bankruptcy Code. The Debtor, on behalf of its estate, reserves all of its rights with respect to any
causes of action it may have, whether or not listed as assets in the Schedules and SOFA, and neither
these Global Notes nor the Schedules and SOFA shall be deemed a waiver of any such causes of
action.

The Debtor has not determined whether, and to what extent, any of the creditors identified on Part 1
of Schedule E/F are actually entitled to priority under section 507 of the Bankruptcy Code. The
Debtor reserves the right to assert that claims identified on Schedule E are not claims that are
entitled to priority.

With respect to Schedule E/F, the Debtor has not included taxing authorities that might assert
claims in currently unknown amounts. The Debtor has also excluded customers who paid for
product that may or may not be delivered by the Debtor.

For the purposes of the Schedules, the Debtor has only scheduled claims and executory contracts
for which the Debtor may be contractually and/or otherwise directly liable. No claims have been
scheduled for which the Debtor may have benefited directly or indirectly from a contractual

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relationship to which the Debtor was not a named party, such as that with a subsidiary, unless the
Debtor believes it was otherwise directly liable on the claim. Without limiting the foregoing, the
Debtor has excluded a number of insurance policies proving coverage to the Debtor as an
additional insured because the primary insured is an affiliate of the Debtor.

22. The Debtor, on behalf of its estate, hereby reserves all of its rights to dispute the validity, status or
enforceability of any contract, agreement, lease or document set forth on Schedule G, including but
not limited to those that may have expired or may have been modified, amended, and supplemented
from time to time by various amendments, restatements, waivers, estoppel certificates, letters and
other documents, instruments, and agreements which may not be listed on Schedule G. Any
contract, agreement, lease or document listed on Schedule G may contain certain renewal options,
guarantees of payment, options to purchase, rights of first refusal, and other miscellaneous rights.
Such rights, powers, duties and obligations are not set forth on Schedule G. Certain executory
agreements may not have been memorialized in writing and could be subject to dispute. In
addition, the Debtor may have entered into various other types of agreements in the ordinary course
of its businesses, such as supplemental agreements, amendments/letter agreements, and/or
confidentiality agreements. Such documents may not be set forth on Schedule G. The Debtor, on
behalf of its estate, reserves all of its rights to dispute or challenge the characterization of the
structure of any transaction, or any document or instrument related to a creditor’s claim. In the
ordinary course of business, the Debtor may have entered into agreements, written or oral, for the
provision of certain services on a short-term or at-will basis. Such contracts may not be included
on Schedule G. However, the Debtor, on behalf of its estate, reserves its right to assert that such
agreements constitute executory contracts.

23. Listing a contract, lease, agreement or other document on Schedule G does not constitute an
admission that such contract, lease, agreement or other document is an executory contract or
unexpired lease, and omitting any contract, lease, agreement or other document from Schedule G
does not constitute an admission that such contract or agreement is not an executory contract or
unexpired lease. On behalf of its estate, the Debtor reserves all rights to challenge whether any of
the listed contracts, leases, agreements or other documents constitute an executory contract or
unexpired lease, and to add additional contracts, leases, agreements or other documents to Schedule
G. Any and all of the Debtor’s rights, claims and causes of action with respect to the contracts and
agreements listed on Schedule G are hereby reserved and preserved.

24. For purposes of Schedule H, the Debtor has not listed its past insurers or its current insurers as co-
debtors because the Debtor is unaware of any actual present liability on the part of these parties.
The Debtor reserves its rights to assert that any of the various foregoing parties (or any other party
not listed on Schedule H whom the Debtor later discovers to be liable in whole or part for any
obligation of the Debtor) is a co-debtor with the Debtor, and neither these Global Notes nor the
Schedules and SOFA shall be deemed a waiver of any rights of the Debtor to assert that any entity
not listed in response to Schedule H is a co-debtor with respect to one or more of the Debtor’s
obligations.

25. With respect to SOFA question 1, the Debtor’s fiscal year has historically ended on March 31,
2017. For the current year, although the Debtor remained operational until March 30, 2017 as
noted in response to question 1, gross revenue is presented through and including February 28,

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2017, its most recent month-end close. Gross revenue is presented without netting for operating
expenses.

With respect to SOFA question 3, payments for employee compensation are excluded, as are “cash
sweeps” made by the Debtor’s secured lenders.

With respect to SOFA question 4, wages and salary paid to employees are excluded. The salary
paid to officers and directors of the Debtor within the past year is listed in response to SOFA
question 30.

With respect to SOFA questions 4 and 30, the listing of any person or entity is not intended to be
nor shall it be construed as a legal characterization of such party as an insider, and does not act as
an admission of any fact, claim, right or defense, and all such rights, claims and defenses are
hereby reserved by both the Debtor and such persons or entities.

With respect to SOFA question 6, in the ordinary course of business certain of the Debtor’s
creditors may have setoff all or part of amounts owed by the Debtor against security deposits,
retainers or payables owed to the Debtor. The Debtor did not historically maintain a record of such
setoffs, so they are not listed. Additionally, bank fees deducted from bank accounts of the Debtor
are not listed in response to SOFA question 6.

With respect to SOFA question 9, the Debtor believes there have been no gifts or charitable
contributions during the two years prior to the Petition Date, but the logistical challenge of

identifying a de minimis gift has prevented the Debtor from verifying this belief prior to the filing
of the SOFA.

With respect to SOFA question 11, although the Debtors consider such payment to be outside the
scope of information requested by SOFA question 11, the Debtor notes it also provided
compensation to McMillan LLP, the Canadian law firm arranging for certain of its affiliates’
liquidation proceedings in Canada.

With respect to SOFA question 13, other than the sale to Logitech Inc., the Debtor is treating all
transfers made during the applicable period to be transferred in the ordinary course of its business
or financial affairs, but this is not intended to be nor shall it be construed as a legal characterization
of such transactions as ordinary course transactions or non-ordinary course transactions, and does
not act as an admission of any fact, claim, right or defense, and all such rights, claims and defenses
are hereby reserved by both the Debtor and such persons or entities who were a party to any other
transactions.

With respect to SOFA questions 26(a) through 26(c), the Debtor has excluded rank and file
accountants and bookkeepers in response to this question, instead listing those officers who
supervised them, as well as the Debtor’s external audit firm.

With respect to SOFA question 26(d), it was not the practice of the Debtor to maintain complete
records of transmittal of financial statements, and as such the Debtor cannot provide an exhaustive
list of all entities that have received one or more financial statements from the Debtor in response
to SOFA question 19(d), or the dates of such transmittals. Moreover, the Debtor typically did not
produce stand-alone financial statements, but instead was included on the consolidated financial

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statements of its corporate parent Mad Catz Interactive, Inc. together with other affiliates, which
consolidated financial statements were publicly filed on account of Mad Catz Interactive, Inc.’s
status as a publicly traded entity. An exception to this practice was the provision to the Debtor’s
lenders of consolidating financial statements in early 2017, which included distinct financial
information for the Debtor and other affiliates.

With respect to SOFA question 27, these represent the Debtor’s most recent full physical
inventories, which take place once a year; inventory sampling occurs on a more frequent basis.

With respect to SOFA question 28, all of the Debtor’s officers and directors resigned from those
positions effective shortly after the filing of the Debtor’s bankruptcy case, but are listed herein to
the extent still in those positions as of the filing of the Debtor’s chapter 7 bankruptcy petition.
Prior to its resignation, the board designated the Designated Representative to complete certain
specified tasks related to this chapter 7 case notwithstanding such resignations, including

completion of the Schedules and SOFA.

With respect to SOFA question 30, the amount of compensation paid to, and expense
reimbursements made to, the officers and directors of the Debtor during the period stated therein is
listed therein in aggregate form. More detailed information can be obtained from the Debtor’s
books and records.

The Debtor and its past or present officers, employees, attorneys, professionals and agents
(including, but not limited to, the Designated Representative), do not guarantee or warrant the
accuracy, completeness, or currentness of the data that is provided herein and shall not be liable for
any loss or injury arising out of or caused in whole or in part by the acts, errors or omissions,
whether negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
communicating or delivering the information contained herein. The Debtor and its past or present
officers, employees, attorneys, professionals and agents (including, but not limited to, the
Designated Representative) expressly do not undertake any obligation to update, modify, revise or
re-categorize the information provided herein or to notify any third party should the information be
updated, modified, revised or re-categorized. In no event shall the Debtor or its past or present
officers, employees, attorneys, professionals and/or agents (including, but not limited to, the
Designated Representative) be liable to any third party for any direct, indirect, incidental,
consequential or special damages (including, but not limited to, damages arising from the
disallowance of any potential claim against the Debtor or damages to business reputation, lost
business or lost profits), whether foreseeable or not and however caused arising from or related to
any information provided herein or omitted herein.

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Fill in this information to identify the case:

Debtor name: Mad Catz, Inc.

 

United States Bankruptcy Court for the District of Delaware
Case number (if known): 17-10679 (KG)

|

 

 

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 4/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 

1.

Gross revenue from business

None

 

From the beginning of the
fiscal year to filing date:

For prior year:

For the year before that:

Non-business revenue

From

From

From

04/01 12016 to
04/01 12015 to
04/ 01 12014 to

3/30/2017

03/ 31 /2016

03/ 31/2015

on bo

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Sources of revenue
Check all that apply

yw Operating a business
oO Other

M ~—— Operating a business
oO Other
Operating a business
Oo Other

L] Check if this is an

amended filing

Gross revenue
(before: deductions and
exclusions)

$41,834,769

$99,586,265

$33,181,264

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

None

From the beginning of the
fiscal year to filing date:

For prior year:

For the year before that:

From

From

From

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Filing date

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Description of sources of
revenue

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Gross revenue from each

» source

(before deductions and
exclusions)

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| Part 2: List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case

List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days
before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Ol None

     

 

Cr ditor's name and address — 1 - ot l Qs leasor for pay nent or transfer

       

3.1 See attached schedule Click here to $ Click here to enter text. Oo Secured debt
Creditors name enter a date. oO Unsecured loan repayments
Click here to enter text. Click here to q Suppliers or vendors
Click here to enter text. enter a date. Services
Street Click here to Oo
Click here to enter text. enter a date. oO Other
City State ZIP Code
3.2 Click here to enter text. Click here to — $ Click here to enter text. oO Secured debt
Creditors name enter a date. oO Unsecured loan repayments
Click here to enter text. Click here to o Suppliers or vendors
Click here to enter text. enter a date. Services
Street Click here to Oo ab
Click here to enter text. enter a date. oO Other
City State ZIP Code

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debtors owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than

$6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Do not include any payments listed in in line 3. insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the
debtor. 11 U.S.C. § 101(31).

Ol None

41 See attached schedule Click here to $ Click here to enter text. Click here to enter text.
Insider’s name enter a date,
Click here to enter text. Click here to
Click here to enter text. enter a date.
Street Click here to
Click here to enter text. enter a date.
City State ZIP Code

Relationship to debtor
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Insider's name enter a date.
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City State ZIP Code

Relationship to debtor
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5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure stale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

M None

           

. Creditor's name and addres : Value of property
5.1 Click here to enter text. Click here to enter text. Click here to $ Click here to enter text.
Insider's name enter a date.
Click here to enter text. ,
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Street
Click here to enter text.
City State ZIP Code
5.2 Click here to enter text. Click here to enter text. Click here to $ Click here to enter text.
insider's name enter a date.

Click here to enter text.
Click here to enter text.

Street

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City State ZIP Code
6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

   

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Insider’s name enter a date.
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Click here to enter text. Last 4 digits of account number: XXX-Click here

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ea Legal Actions or Assignments

7. Legal Actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in
any capacity—within 1 year before filing this case.

Ol None

 

71 Performance Designed Products LLC v. Mad Design Patent Infringement United States District Court, Southern District of Ol Pending

Catz, Inc. California
221 West Broadway OO On appeal
San Diego CA 92101 M Concluded

  
 
   

7.2 In the Matter of Certain Graphics Processing Patent Infringement United States International Trade

Chips, Syst Chi id Products FH Pending
IPS: ys ems ona ip, an roauc' Commission oO On appeal
Containing the Same.
500 E. Street, S.W. Concluded
Washington DC 20436

Investigation No. 337-TA-941.

 

 

 

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: Case'titie : - Nature of Case:

 

Status ofcase
Sales tax audit Cinthia Villafuerte Pending

Comptroller of Public Accounts

P.O. Box 149355
Austin, TX 78714 O Concluded

7.3 Texas Sales Tax Audit

 

l Onappeal

 

"Case number

 

Investigation No. 18704703653.

 

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8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before filing this case.

M None

              

Description of the property ae

 

Click here to enter text. Click here to enter text.
Custodian’s name

Click here to enter text.
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Street ne Sout name and address
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City State ZIP Code Click here to enter text. Click here to enter text.

__ Insider's name

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© City State ZIP Code

Click here to enter a date.

ara Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the

gifts to that recipient is less than $1,000

 

MI None

 

 
 

| Dates given.

 

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Street
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Cit State ZIP Code

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92° Click here to enter text. Click here to enter text. Click here to enter a date. $ Click here to enter text.
Recipient's s name
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Click here to enter text.
Street

Click here to enter text.
City State

   
   

 

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| Parts: | Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

 

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TE certain Payments or Transfers

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of
this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief,
or filing a bankruptcy case.

 

O None

 

 

 

 

 

sfer

 
  

: tf not money, describe

Who was paid 0 who received the tran
: _ Mansferred

 

     

    

 

 

 
 

 

 

11.1 Young Conaway Stargatt & Taylor, LLP 3/8/17 & 3/24/17

 
  

  

 

1000 North King Street
Wilmington, Delaware 19801 7

    
  
  

_ Email or website :

Click here to enter text.

  

 

11.2 Click here to enter text. Click here 1o enter a date. $ Click here to enter text.

Click here to enter text.
Click here to enter text.

Street
Click here to enter text.

City State ZIP Code

 

Click here to enter text.

12. Self-settled trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
a self-settled trust or similar device.
Do not include transfers already listed on this statement.

None

    

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13.

Transfers not already listed on this statement

List any transfers of money or other property-by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

   
  

    

   

 

   

 

im
ate transfer was made : Total amount or
Pe Nal
13.4 Trademarks, equipment and tooling, and 9/15/2016 $ 13,000,000.00
_ inventory previously marketed under the
-— Company’s “Saitek” brand.
EPFL — Quartier de I’ Innovation
Daniel Borel Innovation Center
Street
1015 Lausanne, Switzerland
City State ZIP Code
13.2 Click here to enter text. Click here to enter a date. $ Click here to enter text.

 

Click here to enter text.
Click here to enter text.
Street

Click here to enter text.

State ZIP Code

 

    

Click here to enter text.

Previous Locations

14.

Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

 

O1_ Does not apply

  
  

 
   

     

14.1 7480 Mission Valley Road Ste. 101 From 9/1/2008 To 9/26/14
Street

San Diego, CA 92108.
City State ZIP Code

14.2 490 Nevada Street From 3/10/2009 To 1/17/2017
Street

Redlands, CA 92373
City State ZIP Code

 

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Health Care Bankruptcies

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15. Health Care bankruptcies

Is the debtor primarily engaged in offering services and facilities for:

— diagnosing or treating injury, deformity, or disease, or
~ providing any surgical, psychiatric, drug treatment, or obstetric care?

 

M1 No. Go to Part 9.
0 Yes. Fill in the information below.

   

name and address

 

Click here to enter text.
Facility name

15.1

Click here to enter text.

Click here to enter text.

Street

Click here to enter text.
ZIP Code

 

 

   
 
    
 
  
   
  

If debtor provides _
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O Electronically

 

15.2 Click here to enter text.

Facility name

Click here to enter text.
Click here to enter text.

Street Cliok 1 ot ter text
nq: ‘lick here to enter text.
Click here to enter text.

City State ZIP Code

a Personally Identifiable Information

  
 

 

O Electronically
Ol Paper

 

profit-sharing plan made available by the debtor as an employee benefit?
O1 No. Go to Part 10. /
M Yes. Does the debtor serve as plan administrator?

M1 No. Go to Part 10.

OO Yes. Fill in betow:

 

Mad Catz, Inc. 401k Plan

Hase the plan been terminated?
M1 No.

OO Yes:

 

16. Does the debtor collect and retain personally identifiable information of customers?
O No.
Yes. State the nature of the information collected and retained. Names, addresses, phone numbers,
Does the debtor have a privacy policy about that information?
C} No
M Yes
17.

Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or

 
 

email addresses

   

EIN: XX-XXXXXXX

 

 

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ERR contain Financial Accounts, Safe Deposit Boxes, and Storage Units

 

 

 

 
 
        

     

       

 

 

 

 

 

 

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor’s benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.
None
Financial institution name and address ‘Last 4 digits of account unt was: Last balance before
ES : number: 2222 ‘closed, sold, move: closing‘or transfer.
18.1 Click here to enter text. XXXX-Click here to enter C1 Checking Click here to enter $ Click here to enter
Name text. O Savings text. text.
Click here to enter text. 9
Click here to enter text. OO Money market
Street (1 Brok
Click here to enter text. rokerage
City State ZIP Code Other Click here to
enter text.
182 Click here to enter text. XXXX-Click here to enter Ol Checking Click here to enter $ Click here (o enter
Name text. O Savings text. text.
Click here to enter text. g
Click here to enter text. CO Money market
Street Cl Brok
Click here to enter text. rokerage
City State ZIP Code (1 Other Click here to
enter text.
19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
None
Click here to enter text. Click here to enter text. Click here to enter text. Ol No
Name
Click here to enter text. : na de eee Cl Yes
Click here to enter text. oe
Street nag
. Click here to enter text.
Click here to enter text. Click here to enter text
City State ZIP Code 1X Here Lo enter text.
Street
Click here to enter text.
City
20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

O None

 
 

 

Corodata Records Management David McKeon Accounting records O No

 

Name 1 Yes
12375 Kerran Street
Street
Poway, CA 92064 Street
City State ZIP Code
City
Description of Does debtor still have it?

 

_ the contents

 

 

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Califomia Cross Dock David McKeon Inventory O No
Name

. MI Yes
401 Palmyrita Avenue
Street
Riverside, CA 92507
City State ZIP Code Street

City

   

 

   

Description of Does debtor still have it?

Facility name and address _
SESS ee SEES UNS the contents

“ “Names of anyone with access to it

   

Amazon FBA locations David McKeon Inventory O No

Name . M Yes
Multiple locations

Street

  

City State ZIP Code

Street

City

RITA Pcoverty the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

 

() None

   

FedEx 10680 Treena Street, Suite 500

Name :
San Diego, CA 92131
7900 Legacy Drive ee
Street
Plano, TX 75024
City State ZIP Code

    
      

 

erty

   

addre ocation of the prop es per
A&O Reed & Co. 10680 Treena Street, Suite 500 Server Room Portable AC
Name i

San D 92131

4777 Ruffner St. an Diego, CA
Street
San Diego, CA 92131
City State ZIP Code

  
    

    

Monster Energy Corporation
Name

1 Monster Way

10680 Treena Street, Suite 500 Refrigerator $ 0
San Diego, CA 92131

Street
Corona, CA 92879
City State ZIP Code

 

 

 

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ae Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

& = Environmental jaw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

= Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

&i = Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

 

MI No
O Yes. Provide details below.

 
   

Click here to enter text. Click here to enter text. O Pending

 

Name O On appeal
Click here to enter text.

Click here to enter text. O1 Concluded
Street

Click here to enter text.

City State ZIP Code

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

No
O Yes. Provide details below.

 
 

 

Click here to enter text.

Name

Click here to enter text.
Click here to enter text.

Street

Click here to enter text.

City State ZIP Code

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Click here to enter text.
Name
Click here to enter text.
Click here to enter text.
Street

Click here to enter text.
City State

ZIP Code

Click here to enter text. Click here to

enter a date.

 
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Case 17-10679-LSS Doc14 Filed 04/06/17 Page 19 of 29

24. Has the debtor notified any governmental unit of any release of hazardous material?

MI No
(1 Yes. Provide details below.

 

_ Governmental unit name and address

   

Site name a

 

Environmental law, if known  Date‘of notice

 

Click here to enter text, Click here to enter text. Click here to enter text. Click here to

Name

Click here to enter text.
Click here to enter text.
Street

Click here to enter text.
City State ZIP Code

Name

Click here to enter text.
Click here to enter text.

Street

Click here to enter text.

City State

ZIP Code

enter a date.

Ga Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include
this information even if already fisted in the Schedules.

 

25.1
Name

Plaza

Street

New Territories, Hong
City State

    
      

 

25.2 Click here to enter text.

Name
Click here to enter text.
Click here to enter text
Street

Click here to enter text.
City State

  
 

25.3

 

Name

Click here to enter text.
Click here to enter text.

Street

Click here to enter text,
ZIP Code

City State

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Mad Catz Interactive Asia Ltd.
Unit 19-20, 15/F, Tower 2, Grand Central

138 Shatin Rural Committee Road

ZIP Code

Click here fo enter text.

 

Inventory procurement

To present

Kong

Click here to enter text.

 

From To Click here to

enter a date.

Click here to enter
a date.

  

 

 
     

Click here to enter text.

To

Click here to
enter a date.

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a date.

From

 
 

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26. Books, records, and financial statements

26a__List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
OU None

          

Name and address. Dates of service:

26a.1 David McKeon From 8/25/2014 To present

Name

P.O. Box 15041
Street

San Diego, CA 92175
City State ZIP Code

     

26a.2 Karen McGinnis From 6/2013 To present
Name

P.O. Box 502216
Street

San Diego, CA 92150
City State ZIP Code

26b List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

{1 None

   
        

26b.1 KPMG LLP From 06/2005 To 3/30/2017
Name

4747 executive Drive

Suite 600

Street

San Diego, CA 92121

City Sta ZIP Cod

   

      

26b.2 Hilco Global To 3/30/2017

Name

980 Washington Street
Street

Dedham, MA 02026
City State ZIP Code

 

   
     

26b.3 Bluewater LLC, Transaction Advisors From 4/1/2016 To 3/30/2017
Name
29205 Ryan Road
Street
Warren, Michigan 48092
City State ZIP Code

26c List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.
O None

 

26c.1 David McKeon Click here to enter text.
Name

P.O. Box 15041
Street

San Diego, CA 92175
City State ZIP Code

 

 

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of ee oe cee ~ = ee ee - 1 et ee ee

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_Name and address ee Hany books of account and records are

  

    

260.2 KPMG LLP

Click here to enter text.

Name

4747 Executive Drive

Ste 600

Street

San Diego, CA 92121

City State ZIP Code

26d List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
within 2 years before filing this case.

‘Mf None

Name and address

 

264.1 Click here to enter text.

Name

Click here to enter text.

Click here to enter text.

Street

Click here to enter text,

City ZIP Code

          
 

260.2 Click here to enter text.
Name

Click here to enter text.
Click here to enter text.
Street

Click here to enter text.
City State ZIP Code

27. Inventories

Have any inventories of the debtor's property been taken within 2 years before filing this case?

[1 No
Yes. Give the details about the two most recent inventories

 
 
 
 
 

3/31/16 $ 17,849,874.37

     

27.1 David McKeon

Name
Street
City State ZIP Code

   
   

Lee McKay

27.2 Hilco Global

Name

980 Washington Street

Street

Dedham, MA 02026
City State ZIP Code

 

 

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28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
control of the debtor at the time of the filing of this case.

 

Name’ a : Address. -

: Position and nature of any interest: a : % of interest; if any. :
Karen McGinnis P.O. Box 502216 President and Chief Executive Officer None
San Diego, CA 92150
David McKeon P.O. Box 15041 Chief Financial Officer None
San Diego, CA 92175
Tyson Marshall 7385 Via Cresta General Counsel and Corporate Secretary None
San Diego, CA 92129
Click here to enter text. Click here to enter text. Click here to enter text. Click here to enter
text.
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text.

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control

of the debtor, or shareholders in control of the debtor who no longer hold these positions?

HINO
0 Yes. Identify below.

  
  
    

Click here {o enter text. Click here to enter text. Click here fo enter text. From Click here To Click. here to
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date. date.

30. Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

O No
MI Yes. Identify below.

 

30.1 See attached schedule
Name

Click here to enter text.
Click here to enter text.

Click here to enter text.

   
 
 

       

Street
Click here to enter lext.
Cit State

IP Code

  
 

 

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Name and addres of reciptent

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Biroat

lick dene tucemter text: .
City ‘Bilal: ait Cade:

: Rottionship jodebtor

CN Here io enter ESL

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
Hi No
O Yes. identify below.

Name of the parent corporation Eniployer identification number of the parent corporation
EIN: Click here to enler text,

32,. Within & years before fillng this case, has the debtor as an employer been responsible for contributing to a pension fund?

No
f) Yes. Identify below.

Name ofthe pension funda.

PEEZEEGE sionature and ooctaration

WARNING — Bankruptcy fraud is a serious crime, Making a false statement, concealing property, or obtaining money or property by fraud in
connectionwith a bankruptcy case can resutt in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1344, 1519, and 3571.

Employsr identification number ofthe persion find

EIN: Click here fo enter text,

{ have examined the information In this Statement of Financial Affairs and any attachments and have a reasonable belief thal the information
is true and correct

| declare under penalty of perjury that the foregoing is true and correct,

ALT Coy
MMI DDIYYYY

        

Executed an

 

 

= 3 é Printed name David McKeon
Signature of individuat signing on behalf of tha dabtor

Pasilion of reiationship to debtor Designated Representative

Are additional pages to Statement of Financial Affairs for Non-individuals Filing for Bankruptcy (Olficial Form 207) attached?
O No

Mi Yes

 

 

 

 

 
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TLO@6

TLO¢@6

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080S-26T09
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SOLZE

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‘8bL-LOOLE X0€@ “O'd
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“JD 3897 POY 98ES

“3D 3297 Pau 98ES

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SETTLES NI ONISSIDOYd VLVG DILYVAWOLNY
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suo = § 165-7006
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tewo 0090-L0ZPrl
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Ja0 BZTZE
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Jeo BCTE
JNO 87TCE
2280 BCTTE
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LI@4GHIVv9909S0
LIGS0HDV0C09SO
LIG4QGHDV686SS0
LIGAGHIVST6SS0
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LIGSQHDVS909S0
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SOFA QUESTION 4

Name and Address
Mad Catz Interactive Asia Ltd
138 Shatin Rural Committee Road
Unit 1717-19, 17/F, Grand Central
Shatin New Territories
Hong Kong

Mad Catz Japan
Sakura Building, 3 Floor
Tokyo, Japan 158-0097

Payment Date

4/5/2016
4/25/2016
4/26/2016
6/3/2016
5/10/2016
7/16/2016
7/12/2016
7/19/2016
7/26/2016
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8/9/2016
8/16/2016
8/17/2016
8/23/2016
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12/6/2016
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1/4/2017
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2/7/2017

11/16/2016

Amount

$150,000.00

$200,000.00
$350,000.00
$250,000.00
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